                   Case 3:09-cr-00116-LRH-WGC                 Document 117         Filed 08/24/11   Page 1 of 6
AO 2458 (Rev.09/0s)JudgmentinaCriminalCase
               Sheet!

                                               IJNITED STA TES D ISTRICT COU RT
                                                     D ISTR ICT 0 F N EVA D A

UNITED STATES OF AM ERICA                                                JIJD G M ENT IN A C R IM IN AL 'CA SE
                   VS.          '
EFRAIN CERVANTES-CANO                           '                        CASE NUMBER:          3:09-CR-11GLRHIRAM I-6
aka çtpuerco''                                                           USM N UM BER:         43283-048
akaJuanAntonioNavaDelgado(TRUE NAMEI                                                                                  . ''
                                                            G lvnn Cartledee.CJA
TW E DEFENDANT:                                            DEFENDANT'SAU ORNEY

('
 /')           pledguiltytoCountts)Four(4Jofthelndictmentfiled 12/2/09
()             plednolocontenderetocountts)                                         whichwmsacceptedby thecourt.
()             wasfound guiltyoncountts)                                            afterapleaofnotguilty.
Thedefendantisadjudicated guiltyoftheseoff-
                                          ensels):
                                                                                        Date                       .
Title& Section                          Nature ofO ffense                               O ffense Ended            Count

21U.S.C.843(b)                          UseofaTelephonein Causing or                     11/19/09                 4
                                        Facilitating the com m ission ofFelonies
                                        Underthe Controlled SubstancesAct                                                 .


               Thedefendantissentencedasprovidedinpages2through 6 ofthisjudgment.Thesentenceisimpoiedpursuant
tothe Sentencing Reform Actof I984.
                                                                                                     .   ë
                                                                                                         i
()             Thedefendanthasbeenfoundnotguilty oncountts)                               J:
                                                                                           '
(.
 /)            Countts)1-3                           aredismissedon'themotionoftheUnited States.
       IT IS ORDERED thattbe defendantmustnotify the United States Attorney forthisdistrictwithin 30 daysofany
change ofname,residence,ormailing address untila1Ifines,restitution,costs,and specialmssessm ents imposed by this
judgmentarefully paid. lforderedto pay restitution,thedefendantmustnotify thicourtand United Statesattorney of
m aterialchangesin econom iccircum stances.                                                         '

                                                                         AUGUST 19.201l
                                                                         Dateoflmposition ofJudgment
               .        FILED    '             RK EIVED
               .        EG ERED                SERVED()N             '
           '
                                cotlNsEllpARTlEsOFRECCRD

                             A,t5 2 é 2211                                gnatureofJudge
       .
                         CLERKUsDISm ICTCOURT                            j-xaav R.I-ucx.s
                            Dlsm lct0FNEVK A                             U'S.DISTRICT JUDGE
               BY:                              x ptrry                  Nam eand TitleofJudge
                                                                             -
                                                                                 ô+ //
                                                                         Date
               Case 3:09-cr-00116-LRH-WGC             Document 117       Filed 08/24/11     Page 2 of 6
'
    AO 2458 (Rev.09/0B)Judgmem inaCriminalCase
             Sheet2-Imprisonment
    DEFEN DANT:              EFRAI.
                                  N CERVANTES-CANO aka tlpuerco''                                Judgment-Page 2
                             AkaJuanAntonioNavaDelgado(TRUE NAA1EI
    CASE NUM BER:            3:09-CR-1I6-LRHIM M I-6                                                                      , .
                                                   IM PR ISO N M EN T

            Thedefendantishereby comm ittedto thecustody oftheUn'ited StatesBureau ofPrisonsto be im prisoned foratotal
                                                                                                                      .    ..




    (T)     Thecourtmakesthefollowing recommendationstotheBureauofPrisons:
            A south western prison remsonably closeto M exico.

    (.
     /'
      )     ThedefendantisremandedtothecustodyoftheUnitedStatesMarshal.

    ()      ThedefendantshallsprrendertotheUnitedStatesM arshalforthisdistrict:
            ( ) at                  a.m.
                                       /p.m.on
            ( ) msnotified bytheUnited StatesM arshal.
    ()      The defendantshallsurrender for service ofsentence atthe institution designated by theBureauofPrisons:
            ( ) before2 p.m.on
            ( ) msnotified bytheUnited StatesM arshal.
            ( ) asnotified bytheProbationofPretrialServicesOffice.                                                          '

                                                        RE TUR N

    Ihaveexecutedthisjudgmentasfollows:



    Defendantdelivered on                                 to
    at                                                                       ,withacertified copyofthisjudgment.

                                                                 UNITED STATES M ARSHA L

                                                                 BY :
                                                                        Deputy United StatesM arshal
'




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    AO 2458 (Rev09/08)JudgmcntinaCriminalCase
             Sheet3 -Supew isedRelease        '.                                                                                             '
    DEFEND AN T:               EFRA IN CERVANTES-CANO aka Ispuerco''                                            Judgment-Page 3
                              AkaJuan AntonioNavaDelgado (TRIJE NAME)                                                                .
    CASE NUM BER:             3:09-CR-1I&LRHIRAM I-6                                                                                .        ..
                                                       SUPE RV ISE D R ELEA SE

            U pon release from imprisonment,the defendantshallbe on supervised release fora term of ONE (l)YE . AR
            Thedefendantm ustreporlto the probation office in tbedistrictto which the defendantisreleased within 72 hours
    ofrelease from thecustody ofthe Bureau ofPrisons.                                           .

    Thedefendantshallnotcom mitanotherfederal state,orlocalcrime.

    Thedefendantshallnotunlawfully possessacontrolled substance.Thedefendantshallrefrain from any unlawfuluse ofa
    controlled substance. The defendantshallsubm itto one drug testwithin l5 daysofreleasefrom im prisonm entandatleast
    two periodic drug teststhereafter,notto exceed 104 drug tests annually. Revocation ism andatory forrefusalto com ply.

    ()      Theabovedrugtestingconditionissuspended,basedonthecourt'sdeterminationthatthedefendantposesa Iow risk                            '
            offuturesubstanceabuse.(Check,ifapplicable'.)                              .             '
    ()      ThedefendantshallnotpossessaGrearm,ammunition,destructivedevice1oranyotherdangerousweapon.(Check>
            ifapplicable.)
    (Z)     Thedefendantshallcooperate inthecollectionofDNA asdirectedbytheprobationoffice.(Check,ifapplicable.)
    ()      ThedefendantshallcomplywiththerequirementsoftheSexOflknderRegistrationandNotificationAct(42 U.S.C.
            j 1690l,c/seq.jAsdirectedby theprobation office,theBureauofPrisons,orany state sex offenderregistration
            agency in which he orshe resides.,works,isa student,orwmsconvicted ofa qualifying offense. (Check,if
            applicable.)
    ()      Thedefendantshallparticipateinanapprovedprogram fordomesticviolence.(Check,ifapplicable.)
           lfthisjudgmentimposesafine orarestitution,itisa condition ofsupervised releasethatthedefendantpay in
    accordancewith theScheduleofPaymentssheetofthisjudgment.
            The defendantm ustcom ply with the standard conditionsthathave been adopted by thiscourtaswellasw ith any
    additionalconditionson the attached page.

                                           STANDARD CONDITIO NS O F SUPERVISION

    l)      thedefendantshallnotleavethejudicialdistrictwithoutthepennissionofthecourtorprobationoffice;
    2)      thedefendantshallreporttotheprobationomceandshallsubmitatruthfulandcompltt:Nvritlenrtportwithinthetirstfivedaysofeachmonth;
    3)      thedefendantshallanswertruthfullyalIicquiriesbytheprobationofllceandfollow theinstructionsoftheprobationomce;
    4)      thedetkndantshallsupporthisorherdependantsandmeetothcrfamilyresponsibilities;
    5)      thedefendantshallworkregularlyatalasvfuloccupationunlessexcusedbytheprobationofliceforschoolinp training orotheracceptable
            rtu ons;
    6)      thedelkndantshallnotirytheprobationofficeatleasttendayspriortoanychangeinresidenceoremployment;
    7)      thedefendantshallrefhinfrom excessiveuseofalcoholandshallnotpurchase possess,use,distributcoradministcranycontrolledsubstance
            orany paraphernalia related to any controlled substances exceptasprescribed b)'aphysician;                                .      ..
    8)      thedefendantshallnoth'equentplaceswherecontrolledsubstancesartillegallysold used distributed oradministered;             .
    9)      thedetkndantshallnotassociatewithanypersonscngagedincriminalactivity andshallnotassociatewithanypcrsonconvictedofafelony         .
            unlessgranted ptrmission todo soby theprobation om cc;                                        .                                  .
    I0)     thedefendlmtshallpermitaprobationoflicetovisithim orheratanytimeathomcorelscwhereandshallpennitconfiscationoranycontraband       .
            observed in plain view oftheprobation offict;
    l1)     thcdcfendantshallnotifytheprobationoflicewithinsevcntplvohoursofbeingafrestedorquestionedbyalaw enforcementofrice;               .
    I2)     thedefendantshallnotenterintoanyagreementtoactasaninfbnneroraspecialagentofalaw enforcementagencywithoutthepermission
            ofthecourt;and
    l3)     asdirectedbytheprobationoffice thedet
                                                -
                                                endantshallnotifythirdpartiesofrisksthatmaybeoccasionedbythedefendant'scriminalrecord
            orpersonalhistoryorcharacteristics andshallpermittheprobationoflicetomakesuchnotit
                                                                                             icationsandtoconfirm thedcftndant'scompliance
            with such notification requirement.
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AO 2458 (Rtv.09/02)JudjmentinaCriminalCase                                                                            '
         Shect3-Supcrvl
                      sedRelcase
DEFENDANT:               EFRAIN CERV ANTES-CAN O aka ttpuerco''                            Judgment-Page 4
                         AkaJuanAntonioNavaDelgado (TRUE NAME)
CASE NUM BER:            3:09-CR-1I6-LRHIRAM I-6                                 .


                                      SPECIAL COND ITION S OF SW ERW SIO N                                          . .

1.      Deoortation Comoliance - lf the defendant is deported, he shall not reenter the United States without legal. . '
        authorization.

2       TrueNam e-Defendantshallusehistrue name atalItimesand w illbeprohibited from the'use ofany aliases, false
        dates ofbirth,socialsecurity numbers,placesofbirth,and any otherpertinentdem ographic information.




                                                                                                                      !




                                                                                                                      I
'




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        A0 2458 (Rev09/08)JudgmentinaCriminalCl
                                              lse
                 Shert5-CriminalMonctarvPenal
                                            ties
        DEFEN DANT:              EFRA IN CERVAN TES-CANO akaï'Puerco''                                  Judgm ent-Page 5
                                 AkaJuanAntonioNavaDelgado(TRUE NAME)
        CASE NUM BER:            3:09-CR-1I6-LR.
                                               HIR.AM I-6                                                                      '
                                               C RIM INA L M O NET AR Y PEN ALTIES                                             .

                Thedefendantm ustpay the totalcrim inal'm onetary penaltiesunderthe scheduleofpaym ents on Sheet6.            ''
                                                                                                                               .
                                                                                                                               (
    '                                     Assessm ent                   'Fine                         R estitution   .




                Totals:                   $100.00                         SW A IV ED                  $N/A                     '
                                          D ue and payable immediately.

        ()      Onmotion bytheGovernment,IT IS ORDERED thatthespecialassessmentimposed bytheCourtisremitted.
        ()      Thedetermination ofrestitution isdeferred until                        .AnAmended JudgmentinaCriminalCase
                (AO 245C)willbeentered aftersuchdetennination.
        ()      Thedefendantshallmakerestitution(includingcommunityrestitution)tothefollowingpayeesintheamountlisted
                below .                                             '

                ifthe defendantmakesa partialpayment,each payee shallreceive an approximately proportioned paym ent,unless
                specified otherwiseinthepriority orderorpercentagepaymentcolumn below.However,pursuantto 18U.S.C.j
                3664(1),aIlnonfederalvictimsmustbepaidbeforetheUnited Statesispaid.
        N am e ofPavee                              TotalLoss             Restitution O rdered        Prioriw ofPercentaze

        Clerk,U.S.DistrictCourt                                                                                                '
        Attn:FinancialOffice                                    '
        CaseNo.3:09-CR-lI6-LRHIRAM I-6
        333 LasVegasBoulevard,South
        LasVegms,N V 89101

        TOTALS                            :         $                     $                               .


        Restitution amountordered pursuantto plea agreement: $

        The defendantmustpay intereston restitution and a Gne ofm orethan $2,500,unlessthe restitution orGne ispaid in full    '
        beforethefifteenth dayafterthedateofjudgment,pursuantto l8U.S.C.j3612(9.AIIofthepaymentoptionsonSheet6                 .
        maybesubjecttopenaltiesfordelinquencyanddefault,pursuantto 1sU.S.C.j36l2(g).
        The courtdeterm ined thatthedefendantdoesnothavethe ability to pay interestand itisordered that:

                theinterestrequirementiswaivedforthe: ( )fine ( )restitution.
                theinterestrequirementforthe: ( )fine ( )restitutionismodifiedasfollows:                                       .




        *Findingsforthe totalamountofIossesare required underChapters 109A,1l0,110A,and 113A ofTitle 18 foroffenses
        comm itted on orafterSeptem ber 13,1994 butbefore April23,1996.
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AO 2458 (Rev09/08)Judgmtnlin aCriminalCase
         Sheet6 -ScheduleofPavmenB
D EFENDAN T:              EFRAIN CERVANTES-CANO aka tlpuerco''                               Judgm ent-Page 6
                          AkaJuanAntonioNavaDelgado(TRUE NAM E)
CASENUM BER:              3:09-CR-116-LRHIR.AM I-6                                                             .

                                             SCH ED UL E O F PA YM ENT S                                                   :
Having assessed thedefendant'sability to pay,paymentofthe totalcriminalm onetary penaltiesaredue as follows:               .




A        (W)     Lumpsum paymentof$ 100.00        dueimmediateiy,balancedue                                    .       .
                 ( ) notlaterthan                ;or                                                       .
                 ( ) in accordancewith( )C,( )D,or( )E below;or
B        ()      Paymentto begin immediately (maybecombined with( )C,( )D,or( )E below;or
C        ()      Paymentin                                  (e.g.,weekly,monthly,quarterly)installmentsof$
                        overaperiodof                  (e.g.monthsoryears),to                    (e.g.,30or60days)
                 afterthedateofthisjudgment;or
D        ()      Paymentin          (e.g.,weekly,monthly,quarterly)installmentsof$        overaperiodof
                      (e.g.,monthsoryears),to          (e.g.,30or60days)afterreleasefrom imprisonmentto aterm
                 issupervision;or

E        Paymentduringtheterm ofsupervisedreleasewillcommencewithin                 (e.g.,30or60days)afterrelease
         from im prisonm ent.Thecourtw illsetthepaymentplanbased on an assessm entofthedefendant'sability to pay at
         thattime;or

F        ()      Specialinstructionsregardingthepaymentofcriminalmonetary penalties:

Unlessthecourthmsexpressly ordered otherwise,ifthisjudgmentimposesimprisonment,paymentofcriminalmonetary
penalties is due during imprisonment. Allcrim inalm onetary penalties,exceptthose paym ents made through the Federal
Bureau ofPrisons'lnm ate FinancialResponsibility Program ,aremadeto tbe clerk ofthe court.

The defendantwillreceive creditforalIpaymentspreviously madetoward any crim inalmonetary penaltiesimposed.


()       Jointand Several
         Defendantand Co-DefendantNamesand CaseNumbers(includingdefendantnumber),TotalAmount Jointand
         SeveralAm ount,and corresponding payee,ifappropriate.


()       Thedefendantshallpaythecostofprosecution.                                            .            .           ''
()       Thedefendantshallpaythefollowingcourtcostts):
()       Thedefendantshallforfeitthedefendant'sinterestinthefollowing propertytotheUnited States:

Paymentsshallbeapplied inthefollowing order:(1)assessment,(2)restitutionprincipal,(3)restitution interest,(4)Gne
principal,(5)Gneinterest,(6)community restitution,(7)penalties,and(8)costs,includingcostofprosecution and court
costs.
